                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )      CASE NO. 3:13-00090
                                                  )      JUDGE SHARP
MARIO LIZARDO-PAGUADO [12]                        )
                                                  )

                                        ORDER

       Pending before the Court is Defendant’s Motion to Set Change of Plea Hearing (Docket

No. 212).

       The motion is GRANTED and a change of plea hearing is hereby scheduled for Friday,

October 11, 2013, at 2:30 p.m.

       It is so ORDERED.



                                          KEVIN H. SHARP
                                          UNITED STATES DISTRICT JUDGE




 Case 3:13-cr-00090        Document 213     Filed 10/03/13     Page 1 of 1 PageID #: 794
